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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH,                                              CASE NO.: 1:21-CV-02265-APM
et al.,

       Plaintiffs,
v.

DONALD J. TRUMP,
et al.,

      Defendants.
_____________________________/

                                             ORDER

       Pending before the Court is Defendant Brandon J. Straka’s Special Motion to Dismiss

Under 28 U.S.C. § 1367. Based upon the Motion, the Plaintiffs’ opposition thereto, and Mr.

Straka’s reply, it is hereby ORDERED that:

        1. The Motion is GRANTED;

        2. The Plaintiffs’ remaining claims of aiding and abetting assault and aiding and

            abetting battery are DISMISSED WITHOUT PREJUDICE.


So ORDERED.

ENETERED this          day of                , 2023.



                                                   Hon. Amit P. Mehta
                                                   United States District Judge
